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Attorneys for the State of Alaska

                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 United States of America,                   )
                                             )
               Plaintiff,                    )
                                             )
 and                                         )   Case No.: 1:22-cv-00054-SLG
                                             )
 Kuskokwim River Inter-Tribal Fish           )
 Commission, et al.,                         )   UNOPPOSED MOTION TO
                                             )   MODIFY DEADLINES IN THE
               Intervenor-Plaintiffs,        )   INITIAL CASE SCHEDULING AND
                                             )   PLANNING ORDER
 v.                                          )
                                             )
 The State of Alaska, et al.,                )
                                             )
               Defendants.                   )

       This Court’s Initial Case Scheduling and Planning Order, ECF No. 49, requires

that motions seeking to conduct discovery on APA claims, if necessary, shall be filed not

later than December 21, 2022.



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       Included in Section III of the Order was the following schedule:

       a)     Plaintiff will serve and file the administrative record not later than
              October 21, 2022;

       b)     The parties shall confer and informally attempt to resolve any
              disputes concerning the administrative record. The parties shall
              notify Plaintiff of any issues concerning the sufficiency of the
              administrative record not later than November 21, 2022;

       c)     If the parties do not informally resolve issues concerning the
              administrative record, any motion(s) to supplement or otherwise
              challenge the sufficiency of the administrative record shall be filed
              not later than December 21, 2022. If such a motion is filed,
              Plaintiff’s response shall be due not later than January 20, 2023,
              and any reply shall be due not later than February 23, 2023.

       The parties are informally attempting to resolve any disputes concerning the

administrative record, in compliance with Section III.c. of the Order. At present, the State

is awaiting production of a privilege log and expects the efforts to resolve any disputes

concerning the administrative record to resume after it is produced. An extension of the

deadlines found in Section III.c. of the Order is necessary to facilitate these efforts.

       The State moves this Court to extend the deadlines in Section III.c. of the Order by

approximately one month. The new deadlines would be as follows:

              Any motion(s) to supplement or otherwise challenge the sufficiency
              of the administrative record shall be filed not later than January 20,
              2023. If such a motion is filed, Plaintiff’s response shall be due not
              later than February 23, 2023, and any reply shall be due not later
              than March 23, 2023.

       The United States does not oppose this motion.

       DATED: December 19, 2022.




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                              TREG R. TAYLOR
                              ATTORNEY GENERAL

                              By:   /s/ Margaret Paton-Walsh
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                                      s/Aaron C. Peterson
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                               CERTIFICATE OF SERVICE


       I hereby certify that on December 19, 2022, I caused the foregoing document to

be electronically filed with the Clerk of the Court using the CM/ECF system, which will

serve all counsel of record.

/s/ Christian S. Faatoafe
Christian S. Faatoafe
Law Office Assistant II




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